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                               UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF ARKANSAS
                        RICHARD SHEPPARD ARNOLD UNITED STATES COURTHOUSE
                                      600 W. CAPITOL, ROOM A403
                                  LITTLE ROCK, ARKANSAS 72201-3325
                                             (501) 604-5140
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                                          March 21, 2012

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       Re: United States v. Easley et al., 4:10-cr-00240-BRW

Dear Counsel:

As I understand it, the following is the portion of the statute that is applicable here:

       (4) having knowledge of the occurrence of any event affecting (1) his initial or
       continued right to any payment under this subchapter, or (2) the initial or continued
       right to any payment of any other individual in whose behalf he has applied for or
       is receiving such payment, conceals or fails to disclose such event with an intent
       fraudulently to secure payment either in a greater amount than is due or when no
       payment is authorized;

During opening statement Mr. Dudley made a statement that the crux of this case is whether Mike
Easley knew the limit that Diane Douglas could earn and that he helped her conceal from the
government that she made more than that limit (or words to this precise effect).

I also understand that the defense contends that Mr. Easley had to know the exact limit; but I cannot
find any case law to this effect, and I don’t see that the statute requires knowledge of the “exact”
limit.

                                                  1
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In the defense’s proposed instruction regarding Social Security fraud, there appears this language:

       Two, defendant knew that there was a limit on the amount of money Diane Douglas
       could earn and continue to receive disability benefits;

The government’s submitted an instruction that reads, in part:

       One, the defendant had knowledge of an event affecting the right to receive or to
       continue to receive payments;

Thus far the jury instructions in other cases, found by my lawyers, read in part as follows:

       The Defendant had knowledge of an event affecting his right to receive or to
       continue to receive Social Security Disability benefits.1

I would appreciate any cases or other legal authority, primary or otherwise, which might help me
understand exactly what knowledge I must find; and what intent I have to find, for there to be a
violation of 42 U.S.C. § 408(a)(4).

If you can give me any help regarding the above, I would be much obliged.


                                                     Cordially,

                                                     /s/ Billy Roy Wilson




       1
         See United States v. Phythian, No. 0:06-cr-00066-JNE (D. Minn.) (Doc. No. 60); United
States v. Henderson, No. 0:03-cr-00437-DSD (D. Minn.) (Doc. No. 75); United States v. Miller,
No. 1:08-CR-00023-JPJ (W.D. Va.) (Doc. No. 50).

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